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 1   Sarah R. London (State Bar No. 267083)
     slondon@lchb.com
 2   Tiseme G. Zegeye (State Bar No. 319927)
     tzegeye@lchb.com
 3   Lieff Cabraser Heimann & Bernstein, LLP
     275 Battery Street, 29th Floor
 4   San Francisco, CA 94111-3339
     Telephone: 415.956.1000
 5   Facsimile: 415.956.1008

 6   Hannah R. Lazarz (pro hac vice forthcoming)
     hlazarz@lchb.com
 7   Lieff Cabraser Heimann & Bernstein, LLP
     222 2nd Avenue South, Suite 1640
 8   Nashville, TN 37201-2379
     Telephone: 615.313.9000
 9   Facsimile: 615.313.9965

10   Attorneys for Plaintiffs JAMIE WOODS and LEE
     WOODS
11
                                      UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13

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     JAMIE WOODS and LEE WOODS,                        Case No. 4:24-cv-01745-JST
15
                        Plaintiffs,                    NOTICE OF VOLUNTARY
16                                                     DISMISSAL WITHOUT PREJUDICE
     v.
17
     THE COOPER COMPANIES, INC.;
18   COOPERSURGICAL, INC.; and DOES 1-
     10, inclusive,
19
                        Defendants.
20

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22
            Plaintiffs JAMIE WOODS and LEE WOODS hereby give notice of the voluntary
23
     dismissal of their action as to all defendants, without prejudice, pursuant to Fed. R. Civ. P.
24
     41(a)(1)(A)(i), no defendants having served an answer or a motion for summary judgement.
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                                                                 NOTICE OF VOLUNTARY DISMISSAL W/O PREJUDICE
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 1
     Dated: December 17, 2024       Respectfully submitted,
 2
                                     /s/ Sarah R. London
 3                                  Sarah R. London (State Bar No. 267083)
                                    slondon@lchb.com
 4                                  Tiseme G. Zegeye (State Bar No. 319927)
                                    tzegeye@lchb.com
 5                                  LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                    275 Battery Street, 29th Floor
 6                                  San Francisco, CA 94111-3339
                                    Telephone: 415.956.1000
 7                                  Facsimile: 415.956.1008

 8                                  Hannah R. Lazarz (pro hac vice forthcoming)
                                    hlazarz@lchb.com
 9                                  LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                    222 2nd Avenue South, Suite 1640
10                                  Nashville, TN 37201-2379
                                    Telephone: 615.313.9000
11                                  Facsimile: 615.313.9965

12                                  Attorneys for Plaintiffs JAMIE WOODS and LEE WOODS

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                                                         NOTICE OF VOLUNTARY DISMISSAL W/O PREJUDICE
                                              -2-                            CASE NO. 4:24-CV-01745-JST
